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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                         :
ThomasTurmelle,                          :
                                         :
                                         : Civil Action No.: 3:10-cv-01654-WWE
                    Plaintiff,           :
      v.                                 :
                                         :
Plaza Associates; and DOES 1-10,         :
inclusive,                               :
                                         :
                    Defendant.           :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                          PURSUANT TO RULE 41(a)


       ThomasTurmelle (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
complaint and voluntarily dismisses this action, with prejudice, pursuant to Fed.
R. Civ. P. 41(a)(1)(A)(i).


Dated: January 25, 2011

                                          Respectfully submitted,

                                          PLAINTIFF, ThomasTurmelle

                                          /s/ Sergei Lemberg

                                          Sergei Lemberg, Esq.
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                           CERTIFICATE OF SERVICE

      I hereby certify that on January 25, 2011, a true and correct copy of the
foregoing Notice of Withdrawal was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                      By_/s/ Sergei Lemberg_________

                                           Sergei Lemberg
